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                                             262863




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                                                                             +1 973 360 9831 fax




  Via E-Filing
  December 6, 2024

  Honorable Michael A. Shipp, U.S. District Judge
  United States District Court- District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 5W
  Trenton, NJ 08608

  Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
  United States District Court- District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608

  Re:       In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
            and Products Liability Litigation - MDL 2738

  Dear Judge Shipp and Judge Singh:

        The Johnson & Johnson Defendants write to provide the Court with a copy of the December 5,
  2024 order (Appendix A is omitted due to file size) of the Honorable Christopher Lopez, United States
  Bankruptcy Judge, extending the stay of this litigation to March 15, 2025.

          Thank you for your attention to these matters.

                                                    Respectfully,

                                                    /s/ Susan M. Sharko
                                                    Susan M. Sharko
                                                    FAEGRE DRINKER BIDDLE & REATH LLP

                                                    Attorneys for the Johnson & Johnson Defendants


 SMS/scg
 Cc: All counsel of record (via e-filing)
 Encl: Order of Hon. Christopher Lopez, dated December 5, 2024
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                                    262864                           United States Bankruptcy Court
                                                                                                             Southern District of Texas

                                                                                                                ENTERED
                                    UNITED STATES BANKRUPTCY COURT                                           December 05, 2024
                                      SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                            HOUSTON DIVISION

                                                                 :
       In re:                                                    : Chapter 11
                                                                 :
       RED RIVER TALC LLC,1                                      : Case No. 24-90505 (CML)
                                                                 :
                 Debtor.                                         :
                                                                 :
                                                                 :
       RED RIVER TALC LLC,                                       :
                                                                 :
                 Plaintiff,                                      :
                                                                 :
       v.                                                        : Adv. Pro. No. 24-03194 (CML)
                                                                 :
       THOSE PARTIES LISTED ON                                   :
       APPENDIX A TO COMPLAINT                                   :
       and JOHN AND JANE DOES 1-1000,                            :
                                                                 :
                 Defendants.                                     :
                                                                 :


                   6(&21'ORDER DETERMINING THAT THE AUTOMATIC STAY
                       APPLIES AND EXTENDS TO CERTAIN NON-DEBTORS

                                             (Relates to Docket Nos. 1, 2)

                This matter coming before the Court on the Complaint for Declaratory and Injunctive

   Relief (I) Declaring That the Automatic Stay Applies to Certain Actions Against Non Debtors,

   (II) Preliminarily Enjoining Such Actions and (III) Granting a Temporary Restraining Order

   Pending a Final Hearing (the “Complaint”) and the Debtor’s Emergency Motion for (I) An Order

   (A) Declaring That the Automatic Stay Applies to Certain Actions Against Non-Debtors, or

   (B) Preliminarily Enjoining Such Actions and (II) A Temporary Restraining Order Pending a



   1
                The last four digits of the Debtor’s taxpayer identification number are 8508. The Debtor’s address is
                501 George Street, New Brunswick, New Jersey 08933.
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     Final Hearing (the “Motion”), both filed by the above-captioned Plaintiff Red River Talc

     LLC (the “Debtor”); this Court having reviewed (a) the Complaint, (b) the Motion, (c) the

     Declaration of John K. Kim in Support of Debtor’s Complaint for Declaratory and

     Injunctive Relief and Related Motion (the “Kim Declaration”), (d) the Declaration of Adam

     Lisman in Support of Debtor’s Complaint for Declaratory and Injunctive Relief and

     Related Motion (the “Lisman Declaration”), (e) the Declaration of John K. Kim in Support of

     Chapter 11 Case and Certain First Day Pleadings [Dkt. 17 in No. 24-90505] (the “First Day

     Declaration”) and (f) the Declaration of Adam C. Silverstein in Support of the Coalition

     Objection to the Motion [Dkt. 11] filed in the Chapter 11 Case, together with any responses

     or answers to the Motion or the Complaint; and having heard the arguments of counsel and

     considered the testimony of John Kim and evidence adduced at a hearing on October 21, 2024;

     DQG WKH &RXUW KDYLQJ HQWHUHG DQ RUGHU DW 'NW  GHWHUPLQLQJ WKDW WKH $XWRPDWLF 6WD\ DSSOLHV

     DQG H[WHQGLQJ WR FHUWDLQ QRQGHEWRUV DQG WKH &RXUW KDYLQJ FRQGXFWHG D IXUWKHU KHDULQJ RQ

     'HFHPEHUDQGGHWHUPHGWKDWDIXUWKHUH[WHQVLRQZDVZDUUDQWHGLQWKLVFDVH

           THE COURT HEREBY FINDS THAT:


                  $      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157DQG

                  %      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court

   may enter a final order consistent with Article III of the United States Constitution.

                  &      Venue for this matter is proper in this District pursuant to 28 U.S.C. § 1409.


                  '      Notice of the Motion and the'HFHPEHUKearing was sufficient and

   DSSURSULDWHXQGHUWKHFLUFXPVWDQFHVDQGFRPSOLHGZLWK&KDSWHURIWKH%DQNUXSWF\

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  &RGH WKH³%DQNUXSWF\&RGH´ WKH)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUHDQGWKH%DQNUXSWF\

  /RFDO5XOHVIRUWKH6RXWKHUQ'LVWULFWRI7H[DV1RRWKHURUIXUWKHUQRWLFHLVQHFHVVDU\

                    (       )RU SXUSRVHV RI WKLV RUGHU WKLV³2UGHU´  ³'HEWRU 7DOF &ODLPV´ PHDQV

  FROOHFWLYHO\DQ\WDOFUHODWHGFODLPDJDLQVWWKH'HEWRULQFOXGLQJDOOFODLPVUHODWLQJLQDQ\ZD\WR

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  EHHQDVVHUWHGDJDLQVW  //70DQDJHPHQW //& IND /7/0DQDJHPHQW //& RQDQ\WKHRU\RI

  OLDELOLW\ ZKHWKHU GLUHFW GHULYDWLYH MRLQW DQG VHYHUDO VXFFHVVRU OLDELOLW\ RU YLFDULRXV OLDELOLW\

  IUDXGXOHQW RU YRLGDEOH WUDQVIHU RU FRQYH\DQFH DOWHU HJR RU RWKHUZLVH   1RWZLWKVWDQGLQJ WKH

  IRUHJRLQJ'HEWRU7DOF&ODLPVGRQRWLQFOXGH D DQ\FODLPRUGHPDQGWKDW L DOOHJHVWKDWWKH

  UHOHYDQWLQMXUHGRUGHFHDVHGLQGLYLGXDOZDVH[SRVHGWRWDOFRUWKHSURGXFWRUPDWHULDOFRQWDLQLQJ

  WDOFDVDSSOLFDEOHLQ&DQDGDRUUHVLGHGLQ&DQDGDDWWKHWLPHVXFKFODLPLVILOHGRU LL ZDVEURXJKW

  WKUHDWHQHGRUSXUVXHGLQDQ\FRXUWLQ&DQDGD E DQ\FODLPRUGHPDQGDVVHUWHGRUDVVHUWDEOHE\

  RURQEHKDOIRIDQ\JRYHUQPHQWDOXQLWXQGHUDQ\IHGHUDOVWDWHLQWHUQDWLRQDORUIRUHLJQFRQVXPHU

  RUHPSOR\HHSURWHFWLRQUXOHVWDWXWHRUUHJXODWLRQDQG F DQ\FODLPRUGHPDQGWKDWDOOHJHVWKDW

  WKH UHOHYDQW LQMXUHG RU GHFHDVHG LQGLYLGXDO GHYHORSHG 0HVRWKHOLRPD  RU /XQJ &DQFHU  LQ

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                    )       7KH3ODLQWLIILQWKLVDGYHUVDU\SURFHHGLQJLV'HEWRU5HG5LYHU7DOF//&

  7KH'HIHQGDQWVLQWKLVDGYHUVDU\SURFHHGLQJDUHWKRVHSDUWLHVOLVWHGRQ$SSHQGL[$KHUHWRDVZHOO

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  WDOFUHODWHGODZVXLWVDJDLQVWWKH'HEWRU RUIRUZKLFKWKH'HEWRULVUHVSRQVLEOHRUDOOHJHGWREH



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                     ³0HVRWKHOLRPD´PHDQVWKHW\SHRIFDQFHUWKDWGHYHORSVIURPWKHPHVRWKHOLXPLHWKHWKLQOD\HU
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                    ³/XQJ&DQFHU´PHDQVDSULPDU\OXQJFDQFHU LHDOXQJFDQFHUWKDWRULJLQDWHVLQWKHOXQJVDQGLV
  XQUHODWHGWRDQ\SUHYLRXVFDQFHUDVRSSRVHGWRDOXQJFDQFHUWKDWKDVVSUHDGWRWKHOXQJVIURPDQRWKHUSDUWRIWKH
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  responsible) as of or after the Petition Date who sought to hold, or may seek to hold, one or more

  of the Protected Parties liable for Debtor Talc Claims. The Protected Parties are listed in

  Appendix BDefendants John and Jane Does 1-1000 are prospective plaintiffs who may at any

  time while the Chapter 11 Case is pending seek to hold one or more of the Protected Parties liable

  for Debtor Talc Claims.

      For the reasons stated on the record at the Hearing, IT IS HEREBY ORDERED
  THAT:

                 1.      Pursuant to sections 362(a)(1), (3) (6) DQG  D of the Bankruptcy

  Code, theDefendants are stayed from commencing or continuing to prosecute any Debtor Talc

  Claim against any of the Protected Parties on any theory of liability, whether direct, derivative,

  joint and several, successor liability, vicarious liability, fraudulent or voidable transfer or

  conveyance, alter ego or otherwise, through and including 0DUFK  202. The activities

  temporarily prohibited and enjoined by this Order include, without limitation: (a) the pursuit of

  discovery from the Protected Parties or their officers, directors, employees or agents; (b) the

  enforcement of any discovery order against the Protected Parties; (c) further motions practice

  related to the foregoing; and (d) any collection activity on account of a Debtor Talc Claim

  against any Protected Party or its officers, directors, employees or agents or its respective assets.

                 2.      For the avoidance of doubt, (a) the relief ordered herein shall apply to all

  claims asserted in the Pending Actions identified on Appendix A hereto, regardless of whether any

  such Pending Action has been removed, remanded, transferred, dismissed and refiled under a

  different case number or is on appeal; and (b) the relief ordered herein shall not apply to Kenvue,

  Inc. or its subsidiaries. For further avoidance of doubt, and notwithstanding anything to the




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  contrary in this Order, the stay imposed by this Order is intended to apply to all activity in the

  Pending Actions, whether offensive or defensive, including the pending motion to disqualify, and

  to remove from the Executive Committee, the Beasley Allen firm in the federal MDL.

                 3.      This Order is entered without prejudice to the Debtor’s right to request that

  this Court extend this Order to include other entities, persons and actions not previously identified

  in Appendix A hereto or on Appendix B. For the avoidance of doubt, the inclusion of a talc-related

  claim on Appendix A is not an admission that such Defendant holds a currently pending claim

  against either the Debtor or the Protected Parties.

                 4.      Any party subject to this Order may seek relief from any of the provisions

  of this Order for cause shown. This Order is without prejudice to the Debtor’s or others’ rights to

  seek relief pursuant to section 362 of the Bankruptcy Code.

                 5.      Notwithstanding anything to the contrary in this Order, any party asserting

  Debtor Talc Claims, without leave of the Court, may take reasonable steps to preserve the

  testimony of any person subject to this Order who is not expected to survive the duration of this

  Order or who otherwise is expected to be unable to provide testimony if it is not preserved during

  the duration of this Order. Notice shall be provided to the Debtor by notifying counsel for the

  Debtor of the perpetuation of such testimony, and the parties shall agree on a mutually convenient

  date as soon as possible after such notice. The Debtor shall have the right to object to the notice

  on any grounds it would have had if it were a party to the underlying proceeding and not subject

  to the terms of this Order, and the Debtor may raise any such objection with this Court. The use

  of such testimony in any appropriate jurisdiction shall be subject to the applicable procedural and

  evidentiary rules of such jurisdiction. All parties reserve and do not waive any and all objections

  with respect to such testimony. Defendants or other individuals asserting Debtor Talc Claims may



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  not seek to perpetuate the testimony of representatives, including directors, officers, employees

  and agents, of the Debtor or the Protected Parties without the consent of the Debtor or an order of

  the Court. Notwithstanding the foregoing, parties in lawsuits pending in the MDL who wish to

  preserve the testimony of any person subject to this Order who is not expected to survive the

  duration of this Order or who otherwise is expected to be unable to provide testimony if it is not

  preserved during the duration of this Order shall comply with the process outlined in the In

  Extremis Deposition Protocol entered on January 23, 2017 in the MDL.

                 6.      This Order shall be immediately effective and enforceable upon its entry.

                 7.      This Order shall toll any applicable non-bankruptcy law, any order entered

  in a non-bankruptcy proceeding or any agreement that fixes a period under which an enjoined

  Defendant is required to commence or continue a civil action in a court other than this Court on

  any Debtor Talc Claim asserted against the Debtor or any of the Protected Parties until the later

  of: (a) the end of such period, including any suspension of such period occurring on or after the

  commencement of the case; or (b) 30 days after the termination or expiration of this Order.

                 8.      The deadline to file any answer or other response to the Complaint is tolled

  indefinitely subject to an order of this Court.

                 9.      The Debtor shall cause a copy of this Order to be served via e-mail,

  facsimile, hand delivery or overnight carrier on counsel for the known Defendants within

  three business days of its entry on the Court’s docket.

                 10.     The Debtors are authorized to take all actions necessary to effectuate the

  relief granted in this Order in accordance with the Motion.




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                  11.     This Court retains exclusive jurisdiction over this Order and any and all

   matters arising from or relating to the implementation, interpretation or enforcement of this Order.




                                                 ________________________________________
               August 02,
               December 05,2019
                            2024                 CHRISTOPHER M. LOPEZ
                                                 UNITED STATES BANKRUPTCY JUDGE




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                                    APPENDIX B


                                   Protected Parties
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Non-Debtor Affiliates
Janssen Ortho LLC
Janssen Pharmaceuticals, Inc.
Janssen Research & Development, LLC
Johnson & Johnson
Johnson & Johnson Holdco (NA) Inc.
Johnson & Johnson Services, Inc.
LLT Management LLC
Middlesex Assurance Company Limited
OMJ Pharmaceuticals, Inc.
OMJ Scientific Affairs, LLC
Pecos River Talc LLC
Royalty A&M LLC


Protected Retailers and Indemnitees
Acme Markets, Inc.
Albertsons Companies, Inc.
Avon
Bausch & Lomb Americas Inc.
Bausch & Lomb Incorporated
Bausch + Lomb Corporation
Bausch Health Americas, Inc.
Bausch Health Companies Inc.
Bausch Health US, LLC
Caremark PHC LLC
Classic Pharmacy, Inc.
Costco Wholesale Corporation
CVS Health Corporation
CVS Pharmacy, Inc.
Dierbergs Markets, Inc.
Discount Drug Mart, Inc.
Dollar Tree
Dollar Tree Stores, Inc.
Duane Reade, Inc.
Fred Meyer Stores, Inc.
Gelson’s Markets
Giant Eagle, Inc.
Giant Food Stores, LLC
Grove Park Pharmacy Home Care, LLC
K&B Louisiana Corporation
Katz & Bestoff Inc.
Kroger Company
La Luz Market, Ltd. Co.
Longs Drug Stores California, L.L.C
Marc Glassman, Inc. d/b/a Marc’s Store &
Pharmacy
  Case
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Micholi, Inc. d/b/a Crown Drug Store
Morgan Pharmacy, Inc.
Navdhan Foods, Inc. a/k/a Ambala, Inc. d/b/a Ambala Cash & Carry
Orange Cut Rate Drugs
PTI, Pharma Tech Industries, or Pharma Tech Industries, Inc.
PTI Royston LLC d/b/a Pharma Tech Industries
PTI Union, LLC d/b/a Pharma Tech Industries
Publix Super Markets, Inc.
Ralphs Grocery Company, Inc.
Rite Aid
Rite Aid Hdqtrs. Corp.
Rite Aid of New York, Inc.
Rite Aid of Pennsylvania, Inc.
Rouse’s Enterprises, L.L.C.
Rouse’s Enterprises, L.L.C. d/b/a Rouses Market
Safeway Inc.
Save Mart Supermarkets, Inc.
Schnuck Markets
Schwegmann Westside Expressway
Target Corporation
The Kroger Company
The Vons Companies, Inc.
Tops Holding, LLC
Valeant Pharmaceuticals International
Valeant Pharmaceuticals International, Inc.
Valeant Pharmaceuticals North America LLC
Walgreen Co.
Walgreen Eastern Co., Inc.
Walgreens Boots Alliance, Inc.
Walmart Inc.
Winn-Dixie Stores, Inc.
